        Case 2:06-cv-02290-GTP-JCW Document 63-1 Filed 09/18/07 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


JANEVIE CHAUVIN                                   CIVIL ACTION NO. 06–2290

VERSUS                                            SECTION “T”
                                                  JUDGE G. THOMAS PORTEOUS, JR.

FUGRO–GEOTEAM SA, EXPLORATION
CONSULTANTS LTD., INC., CAMBRIAN                  DIVISION 2
CONSULTANTS, and HDRYOSEARCH                      MAGISTRATE JUDGE
USA, INC. d/b/a RPS ENERGY LTD., INC.             JOSEPH WILKINSON, JR.

            MEMORANDUM IN SUPPORT OF MOTION FOR RULE 54(b) RELIEF
               ON BEHALF OF EXPLORATION CONSULTANTS LTD., INC

MAY IT PLEASE THE COURT:

          Exploration Consultants Ltd., Inc. (“ECL”) must be granted Rule 54(b) relief and

an entry of final judgment because ECL is entitled to a judgment recognizing that the

Oceanographic and Research Vessel Act (“ORVA”) applies to this case, and that Plaintiff

is not a seaman under the Jones Act, and because there is no just reason for delay:

                                       BACKGROUND

          On August 1, 2007, this Honorable Court dismissed all Jones Act claims by

Plaintiff and granted ECL’s motion for summary judgment in an order with written

reasons declaring that ORVA is applicable to the case sub judice and that the Plaintiff is

not a seaman under the Jones Act.1

                                        ARGUMENT

          The judgment granted to ECL is definitive, but is not a final judgment subject to

review. However, Federal Rules of Civil Procedure 54(b) provides that the court shall




1   See Pacer, record number 53.
      Case 2:06-cv-02290-GTP-JCW Document 63-1 Filed 09/18/07 Page 2 of 3



order the entry of a final judgment terminating any party’s participation in a case upon

express request by a party to an action and provided there is no just reason for delay. 2

        In this case, plaintiff has prayed for relief under the Jones Act, which has been

denied by this Honorable Court. ECL should not be required to wait an undeterminable

length of time for the action involving all parties to be resolved before the appeal delays

begin to run. ECL has established that it has an interest in finality on the Summary

Judgment awarded in its favor, and there are no just reasons for delaying its entry as a

final judgment. Therefore, ECL respectfully requests that this Court direct the entry of a

final judgment in favor of ECL recognizing that the Oceanographic and Research Vessel

Act (“ORVA”) applies to this case, and that Plaintiff is not a seaman under the Jones Act.

                                                          Respectfully submitted:

                                                          LEBAS LAW OFFICES
                                                          (A Professional Law Corporation)


                                                          __________________________
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                                                          BARRY J. ROZAS            #21849
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                                                          Telephone: 337-236-5500
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                                                          Attorneys for ECL




2 “When more than one claim for relief is presented in an action… the court may direct the entry of a final
judgment as to one or more but fewer than all of the claims or parties only upon an express determination
that there is no just reason for delay and upon an express direction for the entry of judgment. In the
absence of such determination and direction, any order or other form of decision, however designated,
which adjudicates fewer than all the claims or the rights and liabilities of fewer than all the parties shall
not terminate the action as to any of the claims or parties, and the order or other form of decision is
subject to revision at any time before the entry of judgment adjudicating all the claims and the rights and
liabilities of all the parties.” Federal Rules of Civil Procedure, Article 54(b).
     Case 2:06-cv-02290-GTP-JCW Document 63-1 Filed 09/18/07 Page 3 of 3




                            CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that a copy of the above and foregoing pleading has been
this date electronically filed with the Clerk of Court using the CM/ECF system. Notice of
this filing will be sent by operation of the court’s electronic filing system to all CM/ECF
participants. I also certify that the above and foregoing has this date been forwarded by

U.S. Mail, postage prepaid and properly addressed to the non-CM/ECF participants.
      Lafayette, Louisiana, the 18th day of September, 2007.

                                __/s/ Barry J. Rozas___
                                   BARRY J. ROZAS
